

Matter of Sami v Rosado (2023 NY Slip Op 04951)





Matter of Sami v Rosado


2023 NY Slip Op 04951


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Oing, J.P., Friedman, Kennedy, Shulman, Pitt-Burke, JJ. 


Index No. 151262/19 Appeal No. 706 Case No. 2023-02124 

[*1]In re Ishrat Sami, Petitioner,
vHon. Mary . Rosado etc., Respondent.


Ishrat Sami, petitioner pro se.
Letitia James, Attorney General, New York (Melissa Ysaguirre of counsel), for respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








